Case 3:15-cr-01932-BTM        Document 104   Filed 05/27/16   PageID.902   Page 1 of 1




 1
 2
 3
 4
 5
 6                            UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                       Case No. 15CR1932-BTM
 9
                 Plaintiff,                          JUDGMENT AND ORDER OF
10                                                   DISMISSAL OF INFORMATION AND
                                                     SUPERSEDING INFORMATION
11         v.
12   CRYSTAL LAUINA ET AL.,
13
                 Defendants.
14
15
           Upon joint motion of the UNITED STATES OF AMERICA and counsel for
16
     each defendant and good cause appearing, IT IS HEREBY ORDERED that the
17
     Information and Superseding Information in the above-entitled case be dismissed with
18
     prejudice. The Government shall continue to comply with this Court’s Order filed on
19
     April 18, 2016, page 12 as amended as to part (1) on May 9, 2016. The hearing on June
20
     17, 2016, at 2:30 p.m. remains on calendar.
21
           IT IS SO ORDERED.
22
23
           DATED: May 27, 2016
24
25
26
                                             HONORABLE BARRY TED MOSKOWITZ
27                                           Chief United States District Judge
28
